,_n

`\ooo\l.O\u]'.l>.L».)l\)

[\)l\.))-l>-l)-¢)-dr-‘r-l»-l)-l>-a»-»
vi O \O OO`\] O\ U'l -|d w N r- O

NNI\J[\)[\JN
OO\IO\U'I-l>w

r~)
‘\-) 4

GLANCY BINKOW & GOLDBERG LLP
LIONEL Z. GLANCY (#1341\80)
MICHAEL GOLDBERG (#188669)
MARC L. GODINO (#182689)

1801 Avenue 01 the Stars, Suite 311

Los Angeles, Califomia 90067 `
Telephone: (310) 201-9150

Facsimile: (310) 201-9160

E-mail: info@glancylaw.com

TOSTRUD LAW GRQUP, P.C.
JON A. TOSTRUD. (#199502)

7 1901 Avenue of the Stars, Suite 200 v

LOS Aligeles, CA 90067
Telephone: (310) 278-2600
Facsimile: (310) 278-2640
E-mail: jtostrud@tostrudlaw.com

Az‘torneysfor Plaintz'ff]oon Khang

CENTRAL DISTRICT

JOON KHANG, Individually and On '
Behalf of A11 Others Similarly Situated,

Plaintiff,
_ V-

FACEBOOK, INC., `a Delaware
Corporation,

se 8:12-cv-00161'-C.]C-.]PR Document 1 Filed 02/01/12 Pag_e 1 of 17 Page |D #:2

82_=3 Hc$-|~&‘DZ|

 

 

UNITED STATES DISTRICT COURT

OF CALIFORNIA

Case No.

311112 0161€11(1\0\@4)

.`_...-`

CLASS ACTION COMPLAINT

JURY TRIAL DEMANED

 

 

Defendant.

 

 

COPY

CLASS ACTION COMPLAINT

11_~111:1

 

 

"c

p_l

\o<oo\lo\u\.l>wl\)

OO \] O\ (Jl -l>~ U~) [\) ’_‘ O \O OO \] O`\ Lll -l>~ U-) [\) *'"‘ O

h
l

 

Se 8:12-cv-00161'-C.]C-.]PR Document 1 Filed 02/01/12 Page 2 of 17 Page |D #:3 `

Plaintiff Joon Khang (“Plaintiff”), brings this action against defendant
Facebook, Inc. (“Facebook” or “Defendant”), on behalf of himself, and all others
similarly situated, and alleges as follows:

INTRODUCTION 5

1. Thi.s action is brought on behalf of Plaintiff, individually and on
behalf of all others similarly situated nationvvide,. against Defendant to redress
Defendant’s violations of consumers’ rights'of privacy.

“cookies”'on the computers'of its users at the time a user logs onto the -'Facebook
Website. Defendant further discloses to its users that these cookies are

automatically deleted When a user logs out ofFacebook. These cookies Were

presumably for the purpose of tracking a user’s activity Within _the'Facebook

Website.

3. HoWever, on or about September 26, 2011, Defendant Was forced to

` reveal to the public that, in fact, the cookies Were not.deleted When a user logged

out of Facebook, and that these computer files continued to track user activity on
the `Internet.

4. , Defendant’s admission.c_ame on the heels of an Australian technology
blogger’s expose of Defendant’s practice of monitoring its users’ 'Intemet activity

even after the user has logged out of Facebook.

CLAss AcrroN CoMPLAINT
_ 1 _

 

2. Defendant discloses to its users that it installs computer files called -

 

 

 

\DOO'\]O\L!\J>L)J[\.)r-l

N l\J’ l\.) l\) l\.) l\)-l\) I\J l\) >-l )-‘ r-\ )- )-1 »-\ »-\ )-\ r-l ad
OO \] O\ U`l -l> L)J l\) >d O \D OO‘\l O\ LJ`I -l> L)~) [\.) l-* C>

 

Se 8:12-cv-00161-C.]C-.]PR_ Document 1 Filed 02/01/12 Page 3 of 17 Page |D #:4

5. As a result of Defendant’s rmisconduct, Plaintiff seeks damages and

injunctive relief under the following statutes: The F ederal Wiretap Act and the

.Stored Electronic Communications Act.
JURISDICTION AND VENUE

6., This Court has subject matter jurisdiction pursuant to §1332(d)(2)
because the matter in controversy, upon information and belief, exceeds
$5,000,000, exclusive of interest and costs, and this is a class action in Which' the
Class members and Defendant are.citize'ns of different States. This Court also has
subject matter jurisdiction because this action arises under federal statutes.

‘ 7. 7 Substantial acts Which give rise -to the causes of action asserted herein
occurred Within this State and this judicial district

8-. Venue is proper in this Court because Defendant resides in this State,
and many of the proposed Class members are residents of this District Pursuant
to 28 U.S.C. §1391(0), Defendant is deemed to reside in this District because it is
subject to personal jurisdiction in this District and because Defendant has

continuous and systematic contacts With this State because Defendant provides

services in California to residents of this District.

cLAss AcrioN coMPLAiNr
_ 2 _ -

 

 

 

 

 

CU`

\ooo\lo\_m.l>w\\),_¢

NNNNNNNN[\)r-*»-l)-\r-*)-l)-\>-\>-l)-#»-
OO\`|O'\U!-LUJN*-‘O\OOO\]O\LA-I>~L)JN>-*O

 

se 8:12-cV-00161-C.]C-.]F’Rl Document 1 Filed 02/01/12 Page 4 of 17 Page |D #:5

v THE PARTIES
9. Plaintiff Joon Khang is a citizen of the State of California and the
United States of America, and maintains a residence in Irvine,' Califomia.
10. Defendant Facebook, Inc. is a ’Delaware corporation with its principal

place of business at 156 University Avenue, Palo Alto, California.

CLASS' ACTION ALLEGATIONS
j 11. ` Plaintiff brings this action on his own behalf and on behalf of a Class
of allother persons similarly situated, pursuant to the provisions of Rule 23 of the
Federal Rules of Civil Procedure.

, 12. Plaintiff seeks certification of a nationwide Class of consumers who

' had active Facebook accounts on or before September 26, 2011,_ and logged out of

riFacebook one or more times during that time period.

13. Excluded from the proposed Class are Defendant and any person,
firm, trust, corporation or other entity related to or affiliated with Defendants, as
well as the vJudge(s) assigned to this case. On information and belief, the Class is
composed of tens of millions of hacebook users throughout the United States, the
joinder of which in one action wouldbe' impracticable

14. `T he disposition of the claims of the proposed Class members'through

this class action will benefit both the parties and the Court. The identities of

cLAss AcrioN coMPLAiNT
_ 3 _

 

 

 

Cél

\o._oo\lo\m.l>wt\))-»

NN[\J!\)NNN!\)N>-*)-\)-\r-\>-\)-\»-¢)-\)-l)-l
00 \] O\ U\ -l> L») N »-*¢O \D 00 \] O\ Ul -l> L)~J l\) b-‘ O

¢

 

se 8:12-cv-00161-C.]C-.JPR Document 1 Fi_|ed 02/01/12 Page 5 of 17 Page |D #:6

individual members of the Class are readily'ascertainable through the Defendants’l
recordS._

v -15. There is a well-defined community of interest in the questions_of law
and fact involved affecting the members of the Class. The questions of law and -
fact common to the Class predominate over questions affecting only individual
Class members, and include, but are not limited to, the following:}

a) Whether Defendant violated the Federal Wiretap Act;

b) _ Whether Defendant violated the -Stored Electronic
Communications Act;

c) .' Whether Defendants violated its own Privacy Policy;

d) The measure of statutory and actual damages and injunctive
relief.

16. Plaintiff asserts claims that are typical of the Class, as Plaintiff and
the Class Members have similarly suffered harm arising from befendant’s
violations of the law as alleged lherein.

l7. Plaintiff is an adequate representative of the Class because his
interests do not conflict with the interests of. the Class Members he seeks to
represent Plaintiff will fairly and adequately represent and protect the interests of

the Class. Plaintiff"s interests are not antagonistic to those of the Class Members.

cLAss AcrioN coMPLAiNr
_ 4 _

 

 

 

 

)__a

oo\l.O\U\J>wN)~O\Ooo\lO\m_l>wN»-*C)

f'\'\

\ooo\lc\m.x>.o)t\)`

rse 8:12-cv-00161-C.JC-.JPR Document`l Fi|e_d 02/01/12 Page 6 of 17 Page |D #:7

class litigation

members of the Class have suffered irreparable harm as a result of Defendant’s
unlawful conduct. B_ecause of the size of the individual Class Members’ claims,
few, if any, Class Members could afford to seek legal redress for thewrongs

complained of herein. Absent the class action, Class Members will continue to

of this `Complai'nt. _

sUBsTANTIvE ALLEGATIoNs

_ January 2012, Facebook has more than 800 million active users. Users must

Facebook will go public in 2012, with an estimated market value of $ 100 billion.

cLAss AcTIoN coMPLAiNr
_ 5 _

 

 

v Plaintiff has retained counsel competent and experienced in the prosecution of »

18. A class action is superior to other available means for the fair and

efficient adjudication of Plaintiff’ s and the Class Members’ claims. Plaintiff and

suffer losses, the violations of the law described herein will continue without

remedy. lDefendant continues to engage in the unlawful conduct that is the subject
19. 1 Facebook is a social networking service and website launched in
February 2004, currently operated and privately owned by Facebook, lnc. ' As of

register before using the site, after which they may create a personal profile, add

other users as friends, and exchange messages It is widely speculated that

 

,_1

\ooo‘\io\u\.l>o~)r\)

l\) [\) I\) I\) l\) l\) l\) [\) l\.) r-l )-* bd r-\ v-* r-\ )- )-l >-1 rd
OO \] O'\ Ul -l> L)J [\3 '-‘ O \O 00 \]- O\ UI -l> L»J l\) >_‘ O

else 8§12-cv-0016_1-C.]C-.]PR Document 1 Filed 02/01/12 Page 7 of 17 Page |D #:8

20. Although the Facebook web site is free to users, Facebook requires a
user’s name, date of birth, email address, and profile picture (if applicable) to be
l accessible by everyone.l l

21._ Use of Facebook is governed by_ Defendant’s Statement of Rights and
Responsibilities, Data Use Policy, Privacy Policy as well as other documents

22. At the time a user registers with-Defendant’s website, the user must
consent to having Defendant load computer files (“cookies”) onto the user.’s

computerwhenever the user logs onto the lFacebook website. These cookies track

information is subsequently used to generate revenue for Defendant

23. 7 Although a Facebook user consents to Defendant’s use of cookies as
described above, a user does not consent to having their lnternet activity tracked
after _the user logs out of Defendant’s website. In fact, Facebook specifically
states on its website that “[W]hen you log out of Facebook; we remove the

cookies that identify your particular account.”

Facebook.

cLAss ACTION coMPLAINr
_ 6 _

 

 

and record a user’s Internet activity while logged onto the Facebook website. This

24. However, unbeknownst to Plaintiff and the proposed Class, Facebook l

was secretly tracking its user’s lnternet activity after users logged out of

 

 

 

CG

\ooo\lo\ui-l>-`L»N>_\

OO\IO\UIJ>L»JNF-*O\OOO\]O\M-ldwl\)h-‘O

 

se 8:12-cv-00161-C.]C-.]PR Do'cument 1 Filed 02/01/12 Page 8 of 17 Page |D #:9

25. In fact, even after a user logged out of Facebook, several of its
cookies remained on the user’s computers _and continued to track the user’s-
Internet activity.

26. F acebook’s.secret tracking ‘of user’s lnternet activity even after logoff
was first brought to light on September 25, 2011', by an Australian blogger named
Kirk Cubrilovic. Mr. Cubrilovic revealed on his blog that more than a half dozen
Facebook cookies remained operational after a Facebook user logged off the

website.

27. The following day, y a Facebook representative contacted Mr.
Cubrilovic and admitted that “Facebook had not done as good a job as we could
have to explain its cookie practices.” Facebook further admitted that one of its
primary cookies (“a_user”) was not cleared on logout.

28. Facebookzs admissions caught the immediate attention of U.S.
Representatives Edward Marky and Joe Bartoni On Septemb'er 28, 2011, acting in
their capacity as Co-Chairmen of the Congressional Bi-Partisan Privacy Caucus,
Marky and B'arton sent a letter to the Federal Trade Commission (“FTC”) stating
"‘we believe that tracking user behavior without their consent or knowledge raises
serious privacy concerns.” They further stated that F‘when users log out of

Facebook, they are under the expectation that Facebook is no longer monitoring

cLAss AcrloN coMPLAINT .
_ 7 _

 

 

 

Ca

\DOO\]O\U!-l>~b~)[\.)).-\

NNNNNNN\\)N~»-H~p»_~._.,_\~,_»
oo\lo\w.l>o~)r\)»-O\ooo\lo\m..l>ool\)»-o

se 8:12-cv-00161-C.]C-.]PR Document 1 Filed 02/01/12 'Page 9 of 17 Page |D #:10

their activities We believe this impression should be the reality. Facebook users
should not be tracked without their permission.”_ q

29. The next day,` the Electronic Information Privacy Information Center
also submitted a letter to the FTC stating that “Fac_ebook’s tracking of post;log-out
internet activity violates both the reasonable expectations of consumers and the
company’s own privacy statements.”

23. As a direct and/or proximate result of Defendant’s conduct,

Plaintiff"s and class members?v privacy rights have been compromised

FIRST CAUSE OF ACT_ION
(Violation of the Stored Electronic Communications Act,
18 U.S.C. § 2701)

24. Plaintiff realleges and incorporates herein by reference each of the
foregoing paragraphs, and further alleges as follows.

25. The F ederal `Wiretap Act (the “Wiretap -Act”-), las amended by the
Electronic Communications Privacy Act of 1918-6, prohibits the willful interception
of any wire, oral or electronic_communication. . '

26. 18 USC § 2520(a) provides a private right of action to any person
whose wire, oral orelectronic communication is intercepted

27. Facebook intentionally and willfully installed computer files called

cookies on its'user-’s computers that intercepted information concerning its users’

CLASS AcrIoN coMi>LAINT
_ g _

 

 

 

 

Cas<

)_1

l\)l\J[\)l\.)l\.)[\.)l\)l\)[\))-*)d)-\v---lr-~)--¢)-lr-l)-l)-a
OO\IO\Lh-PWI\)F-‘O\OOO\]O\U!-I>DJN>-\C

 

3 8:12-cv-00161-C.]C-.]PR_ Document 1 Fi|ec| 02/01/12 Page 10 of 17 Page |D #:11

internet communications even after the user has logged out of the Facebook
website.

28. The data intercepted by the Defendant’s cookies after a user logs off

_ the Facebook website are “communications” within the meaning of the Wiretap

Act.

29. Plaintiff is a person whose electronic communications were
intercepted within the meaning of § 2520.

30. .-Section 2520 provides for preliminary, equitable and declaratory
relief, in addition to statutory damages of the greater of $10,000 or $100 a day for
each day of violation, actual andpunitive damages, reasonable attomeys’ fees, and
disgorgement of any profits earned by Defendant as a result of the above-
described violations d

31. Plaintiff and other members of the Class were harmed by
Defendant’s violations, and are entitled to statutory damages,. injunctive relief,

punitive damages and reasonable attorneys’ fees.

SECOND CAUSE OF_ ACTION
(_Violation of the Stored Electronic Communi_cations Act,
18 U.S.C. §2701)
3_2. Plaintiff realleges and incorporates herein by reference each of the

foregoing paragraphs, and further alleges as follows.

cLAss ACTION coMPLAINT
_ 9 _

 

 

 

 

 

Cas§ 8:12-cv-00161-C.]C-.]PR Document 1 Filed 02/01/12 Page 11 of 17 Page |D #:12
1 33. The Stored Electronic Communications Act (“SECA”) provides a
2 cause of action against a person who intentionally accesses, without authorization,
: va facility through which an electronic communication service is provided, or who
5 intentionally exceeds an authorization to access that facility, and thereby obtains,
6 alters or prevents authorized access to a wire or electronic communication while it
7 . -

8 is in storage in such a system.

9 34. Facebook intentionally placedcookies on its users’ computers that
:(1) accessed users’ stored electronic communications without authorization, thus
12 violating the SECA. j
:: 35 . Plaintiff and other members of j the Class were harmed by
15 Defendant’s violations, and are entitled to statutory, actual and injunctive relief,
16 l punitive damages and reasonable attomeys’ fees. _ n
17 `

18 PRAYER FOR RELIEF
19 WHEREFORE, Plaintiff,` on behalf of himself and on behalf of the

::) members of the Class defined herein, prays for judgment and relief on all Causes

22 of Action as follows:

:: A. An order certifying that the action may be maintained as a class

25 action as defined herein;

26 y

_ 27
28
CL'Ass ACTION coMPLAINT
_ 1() _

 

 

 

 

 

Cas

p_A

\DOO\]O\Ul-I>L)JN

NNNN[\)[\)NNN)-\r-*)¥*>-¢)d)-*)-l»d)-lr-l
OO \] O`\'L}`l -l> U~') l\) )_‘ O \O OO \] O\ §l`l 45 U~) [\) '_‘ O

 

 

B.
c.
E.
F.

///

///

`///

///

///

e 8:12-cv-00161-C.]C-.]PR Document 1 Filed 02/01/12 Page 12 of _17 Page |D #:13

Awarding Plaintiff and the other members of the Class damages,in an
amount to be proven `at 'trial, together with prejudgment interest
thereon; l j

For restitution and disgorgement of all money or property wrongfully
obtained by Defendant by means of its herein-alleged unlawful,
business practices ; 4 - j

For preliminary and permanent injunctive relief enjoining Defendant,

its agents, servants and employees, and all persons acting in concert

' with the, from engaging in, and continuing to engage in, the unlawful

business practices alleged above and that may yet be discovered in
the prosecution of this action;

_-Awarding Plaintiff the costs and expenses incurred in this action,
including reasonable attorneys’ and experts’ fees; and 7
Granting Plaintiff and the other members of the Class such other

and further relief as the Court deems just and proper.

CLASS ACTION coMPLAINT
' - 11 -

 

 

Cas;

,_.\

NNNNNI\)`NNN»-»_-`,_._.»_.,_.»_._._.,_.,_.
oo\)o\ui.l>wt\)~o\ooo\io\u!-l>w\\)»~c>

 

DATED: February 1, 2012

 

e 8:12-cv-00161-C.]C-.]PR Document 1 Filed 02/01/12 Page 13 of 17 Page |D #:14

vDEMAND FoR JURY TRIAL
Pursuant{to Rule 38(a) of the F ederal Rules of Civil Procedure, Plaintiff

demands a jury trial as to all*issues triable by a jury. ` .

 

 

Respectfiilly submitted,
GLANCYB N o &v foLDB !RG LLP
-Byr /' 1 ' '

Lionel Z. Giancy
Michael Goldberg
Marc L. Godino

. 1925 Century Park East, Suite 2100

Los Angeles CA 90067 v
reiephone; (310) 201-9150
Facsimile: (310) 201-9160
Email: info@glancylaw.com

TOSTRUD LAW`GROUP, P.C.
Jon A. Tostrud _ _

1901 Avenue of the Stars, Suite 200
Los Angeles, CA. 90067

v T_elephone: §310§ 278-2600

Facsimile: 310 278-2640
Email:` jtostrud@tostrudlaw.com

Attorneysfor Plaintiij

CLAss AcrloN coMPLAINT

_12_

 

 

Case 8:12-cv-00161-C.]C-.]PR Document 1 Filed 02/01/12 Page 14 of 17 Page |D #:15

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Cormac J. Carney and the assigned
discovery Magistrate Judge is Jean P. Rosenbluth.

The case number on all documents filed with the Court should read as follows:

SACV12- 161 CJC (JPRX)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

[_] Western Division [X] Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twe|fth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Fai|ure to file at the proper location Wii| result in your documents being returned to you.

 

CV-18 (03/06) NOT|CE OF ASS|GNMENT TO UN|TED STATES MAG|STRATE JUDGE FOR D|SCOVERY

 

 

Case 8:12-cv-00161-C.]C-.]PR Document 1 Filed 02/01/12 _Page 15 of_17 Page |D #:16

Name & Address:

Lionel Z. Glancy (134180)

Glancy Binkow & Goldberg LLP
1925 Century Park East, Suite 2100
Los Angeles, CA 90067

(310) 201-9150

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JOON KHANG, Individually and On Behalf of All CASE NUMBER

Others Similarly Situated,'
PLArNTrFF(S) SA tv l 21 a lé jim CJQ‘Q/X>

FACEBOOK, INC., a Delaware Corporation,

 

V.

 

sUMMoNs

- DEFENDANT(s).

 

 

To; DEFENDANr(s); FAcEBooK, rNc.

A lawsuit has been filed against you.

 

Within 21 days after service of_ this summons on you (not counting the day you received it), you

 

must serve on the plaintiff an answer to the attached ijcomplaint l:| amended complaint

[l counterclaim i:i cross- -claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff s attorney, LiOIl€l Z.. Glancy , whose address is
1925 Century Park East, Suite 2100, Los Angeles, CA 90067 If you fail to do so,

 

judgment by default will be entered against you for the relief demanded 111 the complaint You also must file
your answer or motion with the court

_ Clerk, U.S. District Court
FEB ~l 2012
Dated: ` . By:

 

 

[Use 60 days if the defendant is the United States or a United States agency, or is an ojicer or employee of the United States. Allowed
60 days by Rule 12(¢1)(3)].

 

 

CV-OlA (lO/ll 7 SUMMONS

Case 8:12-cv-00161-C.JC-.]PR Document 1 Filed 02/01/12 Page 16 of 17 Page |D #:17

l

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT uF'l CALIFORNIA
ClvlL CovER sHEET

 

DEFENDANTS
FACEBOOK, INC.

I (a) PLAINTIFFS (Check box if you are representing yourself 5)
JOON KHANG

COPY

 

(b) Attomeys (Firm Name, Address and Telephone Number. lf you are representing Attomeys (If Known)'

yourself, provide same.)
Glancy Binkow & Goldberg LLP

1925 Century~Park East, Suite 2100
Los Angeles, CA 90067 (310) 201-9150

 

 

III. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only

ll. BASIS OF JUR]SDICTION (P|ace an X in one box only.)
' (Place an X in one box for plaintiff and one for defendant.)

1213 Fodetai Qneation (u.s.
Govemment Not a Party)

5 1 U.S. Govemment Plaintiff PTF DEF PTF DEF
Citizen of This State 5 l 5 1 Incorporated or Principal Place 5 4 5 4

of Business in this State

5 2 U.S. Govemment Defendant Incorporated and Pn'ncipal Place 5 5 5 5

5 4 Diversity (Indicate Citizenship Citizen of Another State
. 'of Business in Another State

5 2 5 2
of Parties in Item I]I) '

Citizen or Subject ofa Foreign Country 5 3 5 3

 

Foreign Nation 5 6 5 6
]V. ORIGIN (Place an X in one box only.)

li(l Original 5 2 Removed from 5 3 .Remanded from 5 4 Reinstated or 5 5 Transferred from another district (specify): 5 6 Multi- 5 7 Appeal to District
Proceedi_ng State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

 

V. REQUESTED IN COMPLAINT~: JURY DEMAND: U.(Yes 5 No (Check ‘Yes’ only if demanded in complaint.)

CLASS ACTION under F.R.C.P. 23: dYes 5 No E{MONEY DEMANDED lN COMPLAINT: $ To be determined

 

Vl. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you areflling and `wn'te a brief statement of cause. Do'not cite jurisdictional statutes unless diversity.)
ix usc 2701 `

VIl. NATURE OF SUIT (Place an X in one box only.)

 

 

 

   

 

 

 

 

   

 

 

 
 

 

 

 

orl~rEit sTATUTEs 7 ; .__co_NT_RAcT roR_Ts ` -_TORTs »PRlsoNER » LAB'C)`R ,`

5 400 State Reapportioninent 5 1 10 lnsurance PERSONAL INJURY PERSONAL 'PETITIONS 5 710 Fair Labor Standards

5 410 Antitrust ' 5 120 Marine 5 310 Airplanc PROPERTY 5 510 Motions to Act

5 430 Banks and Banking 5 130 Miller Act L_-l 315 Ailplan€ l’¥Od\lCt 5 370 Other Fraud Vacate Sentence 5 720 Labor/Mgmt.

5 450 Commerce/ICC 5 140 Negotiable Instrumenr liability 5 371 Truth in Lending Habeas Col'pus Relations
Ratos/oto. ij 150 Rooovety of 5320 ASSaulf»Lib€l & ij 380 otheiPersonai i:i 530 Goneral ij 730 l_aboi/Mgmt.

5 460 Deportation O_verpaymenr & Sland°r Property Damage 5 535 Death Penalty Repolting &

5 470 Racketeer Int]uenced Enforcement of m 330 F‘_"d' _E_mPl°Ye"s’ 5 385 Properry Damage 5 540 Mandamus/ Disclosure Act
and Cornlpt 7 Judgment L'ab_‘my Pro_duct 7Li7abili_ry Other 5 740 Railway Labor Act
organizations i:i 151 Modioare Act §§:g §a"_“°], d BANKRUPTCY i:i 550 civil nights cl 790 othot'Labot

i:i 480 Consnmerctodit ij 152 ,Reoovory ofr)ofanitod Li;:i‘;ie ’° “°‘ ij 422 Appoai 28 usc ij 555 Pti_son__ condition Litigation

5 490 Cable/Sat TV StudentLoan (Excl. m 350 Motm_ gehicle ~ 158 _ F_OR_F_EI ' 5 791 Empl. Ret. Inc

5`810 Selective Service Veterans) ' m 355 Motor Vehic]e 5 423 Withdrawa128 PENALTY ' Se_c_tir_iry_ Act

5 850 Securities/Conunodities/ 5 153 Recovery of Pmduct liability USC7 1577 _7 7 5 610 Agriculture PROPERTY RiGHTS
Exchange Overpayment of m 360 Other Personal ClV_lI;;RIQI-ITS, _ 5 620 Other Food & 5 820 Copyrights

5 875 Customer Challenge 12 Veteran's Benefits ]njury 5 441 Voting Drug 5 830 Patent
USC 34]0 _ 5 160 Stockholders’ Suits g 362 Personal lnjury_ 5 442 Employment 5 625 Drug Related 5 840 Trademark

ij890 Other_Statutory Actions 5 190 Other Contract Med Ma]praclice 5 443 Housing/Acco- Seizure of _ z

5 891 Agricultural Act 5 195 Contracthduct 13355 P¢rsona] injury_ 7 mmodations Property 21 USC 5 861 H1A (1395f1)

5 892 Economic Stabilization Liability Pmduct Liabi]iry 5 444 Welfare 881 5 862 Black Lung (923)
Act 5 196 7I"7rani:liis_¢=. 75 368 Asbestos Personal 5 445 American with 5 630 Liquor Laws 5 863 DIWC/DIWW

5 893 Environmenta] Marters , .REAJ.`. _.ROPERTY lnjury Product Disabilities - 5 640 R.R. & Truck (405(g))

5 894 Energy A|location Act 5 210 Land Condemnation ` Liability Employment 5 650 Airline Regs 5 864 SSID Title XVI

5 895 Freedom of Info. Act 5 220 Foreclosure IM`MIGRATION 5 446 American with _ 5 660 Occupational 5 865 R7S71(4057(g))

5 900 Appeal of Fee Detemii- 5 230 Rent Lease & Ejectment 13 462 Nalufaliza!ion Disabi|ities - Safety /Health ' A_
nation Under Equal 5 240 Tol’ts to Land APP]iCa"°" Oth_er 5 690 Other 5 870 'faxes (U.S. Plaintiff
Aoooss to motion i:i 245 ron Protioot Liabiiity 13 463 Ha_beas CorPuS~ ij 440 other civil or Dofondant)

cl 950 constitutionality of i:i 290 Aii other Roai Ptopony Ah€n De‘ai"€¢_ Rigitts i:i 871 IRs-Thitd l>aity 26
state statutes C' 465 g":_°f Imm'gm"°“ ' usc 7609 `

c ions
FOR OFFlCE USE ONLY: Case Number: 3 A h V l g 0 11 § ll

 

' AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMFLETE THE 1NFORMATION REQUESTED BELOW.

 

CV-7l (05/08)

CIVIL COVER SHEET

Page l of 2

Case 8:12-cv-00161-C.]C-.]PR Document 1 Filed 02/01/12 Page 17 of 17 Page |D #:18

UNITED STA-TES DISTRlCT COURT, CENTRAL DISTRICT OF -CALIFORNIA
ClVlL COVER SHEET

Vlll(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? leo 5 Yes
lf yes, list case number(s):

 

 

 

 

\
VIII(b). RELATED CASES: Have anv cases been 7prevlously fl led 1n this court that are related to the present case? FFNQ t_. Y es
If yes, list case number(s)
Civil cases are deemed related ifa previously filed case and the present case:
(Check all boxes that apply) li(A. Arise from the same or closely related transactions, happenings, or events; or
EfB. Call for determination of` the same or substantially related or similar questions of law and fact; or
E{C. For other reasons would entail substantial duplication of labor if heard by different judges; or
5 D. lnvolve the same patent, trademark or copyright, aLd one of the factors identified above in a, b or c also is present
lX. VENUE: (When completing the following inforrnation, use an additional sheet if necessary.)
(a) List the County in this District; Califomia County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named plaintiff resides.
5 Check here if the govemment, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).
County in this District:* ` Califomia County outside of this District; State, if other than Califomia; or Foreign Country

 

Orange

 

(b) List the County in this District; California County outside of this District; State if other than Califomia; or Foreign Country,`in which EACH named defendant resides.
5 Check here il` the govemment, its agencies or employees is a named defendant lf this box is checked1 go to item (c).

 

County in this Distn`ct:* ' Califomia County outside of this District; State, if other than Califomia; or Foreign Country

 

' Santa Clara

 

 

 

_(c) List the County in this District; Califomia County outside of this District; State if other than Califomia; or Foreign Country, in which EACH claim arose.
Note: ln land condemnation cases, use the location ofthe tract ofland involved.

 

County in this District:* ' Califomia County outside of this District; State, if other than California; or Foreign Country

 

Orange

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis?bis Counties

 

 

 

Note: ln land condemnation cases use the location of the tract of land m o 777
, / iii
x. slGNArURE or ArroRNEY (0R1>Ro PE7R)~ l/; ii/ (/\7,//;<,\/(/1// pate Februar>'l 2012

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings

or other papers as required by law. This folm, approved by the Judicial Conference of the United States ln September 1974,`15 required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (F or more7detailed instructions, see separate instructions sheet.)

 

,Key _to Statistical codes relating to Social Security Cases:

Nature ol`Suit Code Abbreviation . Substantive Statement of Cause of Action

861 1 H1A 7 All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program (42 U.S.C. l935FF(b))

862 - BL All claims for "Black Lung" benefits under Title 4,7 Part B, of the Federal Coal Mine Health and Sal`ety Act of` 1969.

- (30 U. S. C. 923)
863 l DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as

amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))
863 - DI W W All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
. ` Act, as amended. (42 U.S.C. 405(g))
7 b 864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
7. Act, as amended.
865 , 7 - RSI Al| claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
' U-S-C- (g))

 

CV-7l (05/08) 7 CIVIL COVER SHEET ' Page 2 of 2

 

